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PAUL PRICE, ) Pms`
)
Plaintii`f, )
)
vs. ) Civil Action No.: 1:03-1228- B/P
)
coRRECTIoNS CORPORATION )
OF AMER]CA, et al., )
)
Defendants. )

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears tc the satisfaction of the Cour't that the parties have agreed, as
evidenced by the signatures of counsel for all parties belcw, that all deadlines be held in
abeyance until after a scheduled Status Conference en June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Conference on June 24, 2005.

Dated: this q dayof U_U'Y\L ,2005.

 

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UNITED STATES -BIS‘F'IHG'F~JUDGE

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APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Rjtchie, Ritchie FelS & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901»1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, SC 29201 an June@HL, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:03-CV-01228 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

